Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 1 of 42 Page ID #:2351




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11                UNITED STATES DISTRICT COURT
         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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13
10 FEDERAL TRADE COMMISSION, Case No. CV 15-4527-GW(PLAx)
14                     Plaintiff,
11
15                                           ORDER ON STIPULATION TO
                      v.                     ENTER PRELIMINARY
12
16                                           INJUNCTION WITH ASSET
   BUNZAI MEDIA GROUP, INC., et              FREEZE, APPOINTMENT OF
17
13 al.                                       PERMANENT RECEIVER AND
18                                           OTHER EQUITABLE RELIEF AS
14              Defendants.                  TO DORON NOTTEA AND
19                                           MOTTI NOTTEA
15
20
21
16
          Plaintiff, Federal Trade Commission (FTC), filed its Complaint for a
22
17
23 Permanent Injunction and Other Equitable Relief, seeking a temporary,
18
24
   preliminary, and permanent injunction to stop Defendants from violating Section
25
19
   5(a) of the Federal Trade Commission Act (FTC Act), 15 U.S.C. § 45(a), Section
26
20
27 5 of the Restore Online Shoppers’ Confidence Act (ROSCA), 15 U.S.C. § 8404,


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                     Page | 1
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 2 of 42 Page ID #:2352




1   and Section 917(c) of the Electronic Fund Transfer Act (EFTA), 15 U.S.C.
2   § 1693o(c), while advertising, marketing, promoting, or offering for sale skincare
2
3
3   products. On June 17, 2015, following an on-the-record hearing, the Court issued
4
5
4   an ex parte temporary restraining order with an asset freeze, appointment of a
6   temporary receiver, and an order to show cause why a preliminary injunction
5
7
6   should not issue. Defendants were served with the summons, Complaint, Ex Parte
8
9
7   Temporary Restraining Order with Asset Freeze, Appointment of Temporary
10
8 Receiver, and other Equitable Relief, and Order to Show Cause Why a
11
9 Preliminary Injunction Should Not Issue, Plaintiff Federal Trade Commission’s
12
10 Memorandum in Support of Ex Parte Application for a Temporary Restraining
13
14
11 Order and Other Equitable Relief and Order to Show Cause Why a Preliminary
15
12 Injunction Should Not Issue, and other related papers.
16
17
13     After considering the FTC’s pleading and declarations, exhibits, and
18
14 memoranda in support, this Court finds that:
19
15
20                                   FINDINGS
21
16        1.     This Court has jurisdiction over the subject matter of this case and
22
17 jurisdiction over the parties, and venue in this district is proper.
23
18
24        2.     The complaint states a claim upon which relief may be granted under
25
19 Sections 5, 13, and 19 of the FTC Act, 15 U.S.C. §§ 45(a), 53(b), and 57b, and
26
20 under 15 U.S.C. §§ 8404 and 1693o(c).
27


    (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                          Page | 2
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 3 of 42 Page ID #:2353




1          3.    Section 13(b) of the FTC Act allows this Court to grant the FTC a
2   preliminary injunction upon a showing that, weighing the equities and considering
2
3
3   the FTC’s likelihood of ultimate success, a preliminary injunction is in the public
4
5
4   interest. 15 U.S.C. § 53(b). Section 19 of the FTC Act allows this Court to grant
6   such relief as the Court finds necessary to redress injury to consumers resulting
5
7
6   from the violation of any rule enforced by the FTC. 15 U.S.C. § 57.
8
9
7          4.    In deciding whether to grant preliminary relief, the Court must,
10
8 therefore: (a) consider the likelihood that the FTC will ultimately succeed on the
11
9 merits; and (b) balance the equities. FTC v. Affordable Media, LLC, 179 F.3d
12
10 1228, 1233 (9th Cir. 1999). The FTC “need not show irreparable harm to obtain a
13
14
11 preliminary injunction.” Id. at 1233 (quoting FTC v. Warner Commc’ns, Inc., 742
15
12 F.2d 1156, 1159 (9th Cir. 1984)).
16
17
13        5.     There is good cause to believe that Defendants have engaged in, and
18
14 are likely to engage in, acts or practices that violate Section 5(a) of the FTC Act,
19
15 ROSCA, and EFTA and Regulation E, and that the Plaintiff is likely to succeed on
20
21
16 the merits of this action.
22
17        6.      There is good cause to believe that immediate and irreparable harm
23
24 will result from Defendants’ ongoing violations of Section 5(a) of the FTC Act,
18
25
19 ROSCA, and EFTA, unless Defendants are restrained and enjoined by Order of
26
20 this Court.
27


    (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                           Page | 3
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 4 of 42 Page ID #:2354




1          7.     There is good cause to believe that immediate and irreparable
2    damage to the Court’s ability to grant effective final relief to consumers –
2
3
3    including rescission or reformation of contracts, restitution, the refund of monies
4
5
4    paid, and the disgorgement of ill-gotten monies – will occur from the sale,
6    transfer, or other disposition or concealment by Defendants of assets or records,
5
7
6    and that therefore in accordance with Federal Rule of Civil Procedure 65(b), the
8
9
7    interest of justice requires that this Order be granted.
10
8       8.      There is good cause to believe that this Preliminary Injunction is in
11
9 the public interest, and no private interest of Defendants outweighs the public
12
10 interest.
13
14
11       9.     Weighing the equities and considering the FTC’s likelihood of
15
12 ultimate success, this Preliminary Injunction with asset freeze, appointment of a
16
17
13 Permanent Receiver, and other equitable relief is in the public interest.
18
14       10. The United States, its officers, and its agencies are not required to
19
15 give security for issuance of a restraining order. Fed. R. Civ. P. 65(c).
20
21
16        11. The Stipulating Defendants, without admitting or denying the
22
17 allegations set forth in the Commission’s Complaint or motions and without any
23
24 admission or finding of liability, agree to entry of this Preliminary Injunction. The
18
25
19 findings of fact made herein may not be used against Stipulating Defendants in
26
20 this proceeding or any future proceeding.
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                             Page | 4
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 5 of 42 Page ID #:2355




1                                      DEFINITIONS
2          For the purposes of this Order, the following definitions apply:
2
3
3          1.     “Asset” or “Assets” means any legal or equitable right, title, interest,
4
5
4    or claim to any item of economic value, in whole or part, whether tangible or
6    intangible, including but not limited to: accounts, accounts receivables, cash,
5
7
6    certificates of deposit, chattels, checks, commodities, contracts, credits, currency,
8
9
7    fixtures, funds, equipment, income, intellectual property, inventory, instruments,
10
8 investments, leaseholds, lines of credit, mail, notes, personal property, real
11
9 property, revenues, securities, shares of stock, or trusts, whether located within or
12
10 outside the United States.
13
14
11        2.     “Clear(ly) and Conspicuous(ly)” means that a required disclosure is
15
12 difficult to miss (i.e., easily noticeable) and easily understandable by ordinary
16
17
13 consumers, including in all of the following ways:
18
14             a.    In any communication that is solely visual or solely audible,
19
15      the disclosure must be made through the same means through which the
20
21
16         communication is presented. In any communication made through both
22
17         visual and audible means, such as a television advertisement, the disclosure
23
18
24         must be presented simultaneously in both the visual and audible portions of

25
19         the communication even if the representation requiring the disclosure is
26
20         made in only one means.
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                            Page | 5
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 6 of 42 Page ID #:2356




1              b.     A visual disclosure, by its size, contrast, location, the length of
2        time it appears, and other characteristics, must stand out from any
2
3
3        accompanying text or other visual elements so that it is easily noticed, read,
4
5
4        and understood.
6              c.     An audible disclosure, including by telephone or streaming
5
7
6        video, must be delivered in a volume, speed, and cadence sufficient for
8
9
7        ordinary consumers to easily hear and understand it.
10
8              d.     In any communication using an interactive electronic medium,
11
9        such as the Internet or software, the disclosure must be unavoidable.
12
13
10             e.     On a product label, the disclosure must be presented on the
14
11       principal display panel.
15
12             f.     The disclosure must use diction and syntax understandable to
16
17
13       ordinary consumers and must appear in each language in which the
18
14       representation that requires the disclosure appears.
19
15             g.     The disclosure must comply with these requirements in each
20
21
16       medium through which it is received, including all electronic devices and
22
17       face-to-face communications.
23
18
24             h.     The disclosure must not be contradicted or mitigated by, or

25
19       inconsistent with, anything else in the communication.
26
20
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                           Page | 6
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 7 of 42 Page ID #:2357




1                i.     When the representation or sales practice targets a specific
2          audience, such as children, the elderly, or the terminally ill, “ordinary
2
3
3          consumers” includes reasonable members.
4
5
4
6
5
7
6          3.    “Continuity Plan” means any plan, arrangement, or system in
8
9
7    which a consumer is periodically charged for products or services without prior
10
8 notification by the seller before each charge.
11
9        4.     “Defendants” means all of the Individual Defendants and Corporate
12
10 Defendants, individually, collectively, or in any combination.
13
14
11               a.     “Individual Defendants” means Alon Nottea, Motti Nottea,
15
12         Doron Nottea, Igor Latsanovski, Oz Mizrahi, Roi Reuveni, and Khristopher
16
17
13         Bond a/k/a Ray Ibbot, individually, collectively, or in any combination.
18
14               b.     “Corporate Defendants” or “Receivership Defendants”
19
15         means Bunzai Media Group, Inc., d/b/a AuraVie and Miracle Face Kit;
20
21
16         Pinnacle Logistics, Inc.; DSA Holdings, Inc.; Lifestyle Media Brands, Inc.;
22
17         Agoa Holdings, Inc.; Zen Mobile Media, Inc.; Safehaven Ventures, Inc.;
23
18
24         Heritage Alliance Group, Inc., also doing business as AuraVie Distribution;

25
19         AMD Financial Network, Inc.; SBM Management, Inc.; Media Urge, Inc.;
26
20         Adageo, LLC; Calenergy, Inc.; KAI Media, Inc.; Insight Medial, Inc.; and
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                            Page | 7
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 8 of 42 Page ID #:2358




1          their successors and assigns, as well as any subsidiaries, fictitious business
2          entities, or business names created or used by these entities or by the
2
3
3          Individual Defendants that are related to, or receive funds from, the sale of
4
5
4          skincare or other products online.
6          5.     “Document” means the complete original and any non-identical
5
7
6    copy (whether different from the original because of notations or otherwise) of
8
9
7    any electronically stored information or filmed, graphic, imaged, printed,
10
8 punched, texted, transcribed, typed, written, matter of every type and description,
11
9 including but not limited to writings, drawings, graphs, charts, photographs, sound
12
10 records, images, and other data or data compilations that are stored in any medium
13
14
11 from which information can be obtained either directly or indirectly or, if
15
12 necessary, translated into a reasonably usable form.
16
17
13         6.    “Electronic Fund Transfer” means any transfer of funds, other than
18
14 a transaction originated by check, draft, or similar paper instrument, which is
19
15 initiated through an electronic terminal, telephonic instrument, or computer or
20
21
16 magnetic tape so as to order, instruct, or authorize a financial institution to debit or
22
17 credit an account. Such term includes point-of-sale transfers, automated teller
23
24 machine transactions, direct deposits or withdrawals of funds, and transfers
18
25
19 initiated by telephone. Such term does not include:
26
20
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                              Page | 8
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 9 of 42 Page ID #:2359




1              a.      Any check guarantee or authorization service that does not
2        directly result in a debit or credit to a consumer’s account;
2
3
3              b.      Any transfer of funds, other than those processed by automated
4
5
4        clearinghouse, made by a financial institution on behalf of a consumer by
6        means of a service that transfers funds held at either Federal Reserve banks
5
7
6        or other depository institutions and that is not designed primarily to transfer
8
9
7        funds on behalf of a consumer;
10
8              c.      Any transaction the primary purpose of which is the purchase
11
9        or sale of securities or commodities through a broker-dealer registered with
12
13
10       or regulated by the Securities and Exchange Commission;
14
11             d.      Any automatic transfer from a savings account to a demand
15
12       deposit account pursuant to an agreement between a consumer and a
16
17
13       financial institution for the purpose of covering an overdraft or maintaining
18
14       an agreed upon minimum balance in the consumer’s demand deposit
19
15       account; or
20
21
16             e.      Any transfer of funds which is initiated by a telephone
22
17       conversation between a consumer and an officer or employee of a financial
23
18
24       institution which is not pursuant to a prearranged plan and under which

25
19       periodic or recurring transfers are not contemplated.
26
20
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                          Page | 9
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 10 of 42 Page ID #:2360




1          7.     “Financial Institution” means an insured bank; a commercial bank
2    or trust company; a private banker; an agency or branch of a foreign bank; a credit
2
3
3    union; a thrift institution; a broker or dealer registered with the Securities and
4
5
4    Exchange Commission; a broker or dealer in securities or commodities; an
6    investment banker or investment company; a currency exchange; an issuer,
5
7
6    redeemer, or cashier of travelers’ checks, checks, money orders, or similar
8
9
7    instruments; an operator of a credit card system; an insurance company; a dealer
10
8 in precious metals, stones, or jewels; a pawnbroker; a loan or finance company; a
11
9 licensed sender of money or any other person who engages as a business in the
12
10 transmission of funds, including any person who engages as a business in an
13
14
11 informal money transfer system or any network of people who engage as a
15
12 business in facilitating the transfer of money domestically or internationally
16
17
13 outside of the conventional financial institutions system; a telegraph company; a
18
14 business engaged in vehicle sales, including automobile, airplane, and boat sales;
19
15 persons involved in real estate closings and settlements; the United States Postal
20
21
16 Service; a casino, gambling casino, or gaming establishment.
22
17       8.     “Material” means likely to affect a person’s choice of, or conduct
23
24 regarding, goods or services.
18
25
19         9.     “Negative Option” means, in an offer or agreement to sell or provide
26
20
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                             Page | 10
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 11 of 42 Page ID #:2361




1    any good or service, a provision under which the consumer’s silence or failure to
2    take an affirmative action to reject a good or service or to cancel the agreement is
2
3
3    interpreted by the seller or provider as acceptance or continuing acceptance of the
4
5
4    offer or agreement.
6          10.     “Person” means a natural person, an organization or other legal
5
7
6    entity, including an association, cooperative, corporation, limited liability
8
9
7    company, partnership, sole proprietorship, or any other group or combination
10
8 acting as an entity.
11
9        11.    “Plaintiff” or “FTC” means the Federal Trade Commission.
12
13
10         12.    “Preauthorized Electronic Fund Transfer” means an electronic
14
11 fund transfer authorized in advance to recur at substantially regular intervals.
15
12        13. “Permanent Receiver” means the receiver appointed in Section XIII
16
17
13 of this Order and any deputy receivers that shall be named by the Permanent
18
14 Receiver.
19
15        14.         “Stipulating Defendants” refers to Doron Nottea and Motti
20
21
16 Nottea.
22
17                           ORDER
23
24 I.
18         PROHIBITED BUSINESS ACTIVITIES

25
19      IT IS HEREBY ORDERED that Stipulating Defendants and Stipulating
26
20 Defendants’ officers, agents, employees, and attorneys, and all other persons in
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                              Page | 11
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 12 of 42 Page ID #:2362




1    active concert or participation with any of them, who receive actual notice of this
2    Order, whether acting directly or indirectly, in connection with the sale of any
2
3
3    good or service, are preliminarily restrained and enjoined from:
4
5
4          A.     Failing to disclose or disclose clearly and conspicuously, or assisting
6    others in failing to disclose clearly and conspicuously, all material terms and
5
7
6    conditions of their offer, including:
8
9
7                 1.     That Defendants will use consumers’ credit card or financial
10
8          account information to charge consumers the full costs of a product upon
11
9          the expiration of a limited trial period;
12
13
10                2.     The dates that any trial period begins and ends;
14
11                3.     That Defendants will enroll consumers into a negative option
15
12         continuity plan with additional charges;
16
17
13                4.     The cost of any continuity plan and the frequency and duration
18
14         of recurring charges;
19
15                5.     The means consumers must use to cancel the negative option
20
21
16         program and to avoid additional charges; and
22
17                6.     Requirements of their refund policies.
23
18
24         B.     Misrepresenting, or assisting others in misrepresenting, directly or

25
19 indirectly, expressly or by implication, any material fact, including that:
26
20               1.    Consumers can obtain an advertised product for “free,”
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                           Page | 12
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 13 of 42 Page ID #:2363




1          “risk-free,” or for only a nominal shipping and handling fee; and
2                 2.    Defendants are accredited by and have a rating of “A-” with
2
3
3          the Better Business Bureau; and
4
5
4          C.     Charging, causing to be charged, or assisting others in charging any
6    consumer’s credit card, or debiting, causing to be debited, or assisting others in
5
7
6    debiting any consumer’s financial account, without the consumer’s express
8
9
7    informed consent for each charge or debit.
10
8 II.           PROHIBITIONS AGAINST UNFAIR AND DECEPTIVE
11              NEGATIVE OPTION MARKETING PRACTICES ON THE
9               INTERNET
12
13
10         IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating
14
11 Defendants’ officers, agents, employees, and attorneys, and all other persons in
15
16 active concert or participation with any of them, who receive actual notice of this
12

17
13 Order, whether acting directly or indirectly, in connection with the sale of any
18
14 good or service are preliminarily restrained and enjoined from charging, causing
19
20 to be charged, assisting others in charging , or attempting to charge any consumer
15

21
16 in an Internet-based sale of a good or service sold through a negative option
22
17 without:
23
18
24        A.    Clearly and conspicuously disclosing all material terms of the

25
19 negative option features before obtaining the consumer’s billing information;
26
20       B.     Obtaining a consumer’s express informed consent to the negative
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                            Page | 13
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 14 of 42 Page ID #:2364




1   option features before making any charge; and
2          C.     Providing a simple mechanism for a consumer to stop recurring
2
3
3   charges from being placed on the consumer’s credit card, debit card, or other
4
5
4   financial account.
6
5
7
6   III.        PROHIBITIONS AGAINST DEBITING CONSUMERS’ BANK
8
                ACCOUNTS WITHOUT AUTHORIZATION
9
7          IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating
10
8 Defendants’ officers, agents, employees, and attorneys, and all other persons in
11
9 active concert or participation with any of them, who receive actual notice of this
12
13
10 Order, whether acting directly or indirectly, in connection with the sale of any
14
11 good or service, are preliminarily restrained and enjoined from:
15
12
16       A.     Failing to timely obtain written authorization signed or similarly
17
13 authenticated by the consumer for any Preauthorized Electronic Fund Transfer
18
14 from a consumer’s account before initiating any Preauthorized Electronic Fund
19
15
20 Transfer; and
21
16       B.     Failing to provide to the consumer a copy of a valid written
22
17 authorization signed or similarly authenticated by the consumer for any
23
18
24 Preauthorized Electronic Fund Transfer from a consumer’s account.
25
19 IV.          ASSET FREEZE
26
20
27


    (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                          Page | 14
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 15 of 42 Page ID #:2365




1          IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating
2    Defendants’ officers, agents, employees, and attorneys, and all other persons in
2
3
3    active concert or participation with any of them, who receive actual notice of this
4
5
4    Order, whether acting directly or indirectly, are preliminarily restrained and
6    enjoined from directly or indirectly:
5
7
6          A.     Assigning, concealing, converting, disbursing, dissipating,
8
9
7    encumbering, liquidating, loaning, pledging, selling, spending, transferring, or
10
8 withdrawing any asset that is:
11
9            1.     owned, controlled by, or held for the benefit of, any Defendant,
12
13
10         directly or indirectly;
14
11                2.    in the actual or constructive possession of any Defendant;
15
12                3.    held as a retainer or deposit for the provision of goods or
16
17
13         services to any Defendant; or
18
14                4.    owned, controlled by, held for the benefit of, or in the actual or
19
15         constructive possession, of any entity directly or indirectly owned,
20
21
16       managed, or controlled by any Defendant;
22
17       B.     Opening or causing to be opened any safe deposit box, commercial
23
24 mail box, or storage facility belonging to, for the use or benefit of, under the
18
25
19 control of, or subject to access by, any Defendant;
26
20
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                           Page | 15
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 16 of 42 Page ID #:2366




1          C.     Incurring charges or cash advances on any credit card, debit card, or
2    checking card issued in the name, singly or jointly, of any Defendant;
2
3
3          D.     Obtaining or providing a personal or secured loan that encumbers an
4
5
4    asset of any Defendant; and
6          E.     Cashing any checks or depositing any money orders or cash received
5
7
6    from consumers, clients, or customers of any Defendant.
8
9
7          The assets affected by this Section shall include all assets of Individual
10
8 Defendants and Receivership Defendants as of the time this order is entered.
11
9 Provided, however, that assets obtained by Stipulating Defendants after the time
12
10 this Order is entered that are not derived, directly or indirectly, from activities as
13
14
11 described in the Commission’s Complaint or activities of any Receivership
15
12 Defendant, shall not be frozen.
16
17
13 V.        DUTIES OF ASSET HOLDERS
18
14        IT IS FURTHER ORDERED that any financial institution or person that
19
15 has, or that at any time since January 1, 2010, has had, custody or control over an
20
21
16 asset belonging to, for the use or benefit of, under the control of or subject to
22
17 access by any Stipulating Defendant and that is provided with a copy of this
23
24 Order, or otherwise has actual or constructive knowledge of this Order shall:
18
25
19        A.     Hold and retain any of Stipulating Defendants’ assets that are within
26
20 its control and prohibit Stipulating Defendants from assigning, concealing,
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                            Page | 16
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 17 of 42 Page ID #:2367




1    converting, disbursing, dissipating, encumbering, liquidating, loaning, pledging,
2    selling, spending, transferring, or withdrawing any asset except:
2
3
3                 1.    as directed by further order of the Court;
4
5
4                 2.    as directed in writing by the Permanent Receiver (regarding an
6          asset belonging to, for the use or benefit of, under the control of, or subject
5
7
6          to access by a Receivership Defendant); or
8
9
7                 3.    by written stipulation of the Plaintiff;
10
8       B.     Deny Defendants access to any safe deposit box, commercial mail
11
9 box, or storage facility belonging to, for the use or benefit of, under the control of,
12
10 or subject to access by, any Stipulating Defendant;
13
14
11       C.    Within five (5) business days after receiving a copy of this Order,
15
12 provide counsel for Plaintiff and the Permanent Receiver a certified statement
16
17
13 setting forth:
18
14                1.    the identification number of each account or asset belonging
19
15        to, for the use or benefit of, under the control of, or subject to access by,
20
21
16         any Stipulating Defendant; and
22
17                2.    the balance of each account, or a description of the nature and
23
18
24         value of such asset as of the close of business on the day on which this

25
19         Order is received, and, if the account or other asset has been closed or
26
20         removed, or more than $1,000 withdrawn or transferred from it, the date of
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                            Page | 17
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 18 of 42 Page ID #:2368




1          the closure or removal of funds, the total funds removed or transferred, and
2          the name of the person to whom such account or other asset was remitted;
2
3
3          and
4
5
4          D.     Within five (5) days of a request by Plaintiff or the Permanent
6    Receiver, provide Plaintiff and the Permanent Receiver with copies of documents
5
7
6    relating to each asset, including, but not limited to, account applications,
8
9
7    statements, signature cards, checks, drafts, deposit tickets, transfers to and from
10
8 the accounts, all other debit and credit instruments or slips, currency transaction
11
9 reports, 1099 forms, and safe deposit box logs.
12
13
10 VI.          SERVICE ON FINANCIAL INSTITUTIONS OR PERSONS
                HOLDING ASSETS
14
11      IT IS FURTHER ORDERED that copies of this Order may be served by
15
12
16 any means, including U.S. first class mail, overnight delivery, facsimile, electronic
17
13 mail, or personally by agents or employees of the Plaintiff or the Permanent
18
14 Receiver, by any law enforcement agency, or by process server, upon any person
19
15
20 or financial institution that may have possession, custody, or control over any
21
16 asset or document belonging to, for the use or benefit of, under the control of, or
22
17 subject to access by, any Stipulating Defendant, or that may otherwise be subject
23
18
24 to any provision of this Order. Service upon any branch or office of any financial
25
19 institution shall effect service upon the entire financial institution.
26
20
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                             Page | 18
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 19 of 42 Page ID #:2369




1   VII.        FINANCIAL STATEMENTS
2          IT IS FURTHER ORDERED that Stipulating Defendants shall each:
2
3
3          A.     Within five (5) days after service of this Order, prepare and provide
4
5
4   to Plaintiff and the Permanent Receiver complete and accurate financial
6   statements, on the forms attached as Attachments A and B of this Order,
5
7
6   disclosing all personal assets and all assets of corporations, partnerships, trusts or
8
9
7   other entities that each Stipulating Defendant owns or controls, jointly or
10
8 individually;
11
9       B.      Within five (5) business days after service of this Order, prepare and
12
10 provide to Plaintiff and the Permanent Receiver complete and accurate copies of
13
14
11 federal and state income tax forms, including all schedules and attachments for the
15
12 three most recent filing years; and
16
17
13       C . Immediately upon service of this Order, provide access to documents
18
14 held by persons and financial institutions located outside the United States by
19
15 signing the Consent to Release of Financial Records, attached to this Order as
20
21
16 Attachment C.
22
17 VIII.    REPATRIATION OF ASSETS AND DOCUMENTS
23
18
24       IT IS FURTHER ORDERED that immediately upon service of this

25
19 Order, each Stipulating Defendant shall:
26
20
27


    (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                             Page | 19
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 20 of 42 Page ID #:2370




1          A.     Take such steps as are necessary to transfer to the United States all
2    assets and documents that are located outside the United States and belong to, are
2
3
3    for the use or benefit of, are under the control of, or are subject to access by, any
4
5
4    Stipulating Defendant; and
6          B.     Hold and retain all repatriated assets and prevent and disposition,
5
7
6    transfer, or dissipation of such assets except as required by this Order.
8
9
7    IX.        NONINTERFERENCE WITH REPATRIATION
10
8      IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating
11
9 Defendants’ officers, agents, employees, and attorneys, and all other persons in
12
10 active concert or participation with any of them who receive actual notice of this
13
14
11 Order, whether acting directly or indirectly, are preliminarily restrained and
15
12 enjoined from taking any action that may result in the encumbrance or dissipation
16
17
13 of foreign assets, or in the hindrance of the repatriation required by Section VIII
18
14 of this Order, including:
19
15        A.    Sending any statement, letter, fax, email or wire transmission,
20
21
16 telephoning, or engaging in any other act, directly or indirectly, that results in a
22
17 determination by a foreign trustee or other entity that a “duress” event has
23
24 occurred under the terms of a foreign trust agreement until such time as all assets
18
25
19 have been fully repatriated according to Section VIII of this Order; or
26
20
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                             Page | 20
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 21 of 42 Page ID #:2371




1          B.     Notifying any trustee, protector, or other agent of any of the
2    Stipulating Defendants of the existence of this Order, or of the fact that
2
3
3    repatriation is required under a Court Order, until such time as all assets have been
4
5
4    fully repatriated according to Section VIII of this Order.
6
5    X.         CONSUMER CREDIT REPORTS
7
6          IT IS FURTHER ORDERED that the FTC may obtain credit reports
8
9
7    concerning any Stipulating Defendant pursuant to Section 604(a)(1) of the Fair
10
8 Credit Reporting Act, 15 U.S.C. § 1681b(a)(1), and that, upon written request, any
11
9 consumer reporting agency from which such reports are requested shall provide
12
10 them to the FTC.
13
14
11 XI.          PRESERVATION OF RECORDS AND REPORT NEW
15              BUSINESS ACTIVITY
12
16         IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating
17
13 Defendants’ officers, agents, employees, and attorneys, and all other persons in
18
14 active concert or participation with any of them, who receive actual notice of this
19
15
20 Order, whether acting directly or indirectly, are hereby preliminarily restrained
21
16 and enjoined from:
22
17       A.     Altering, concealing, destroying, erasing, mutilating, transferring, or
23
18
24 otherwise disposing of, in any manner, directly or indirectly, any documents,
25
19 including electronically stored materials, that relate in any way to the business
26
20 practices or business or personal finances of Defendants; or to the business
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                            Page | 21
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 22 of 42 Page ID #:2372




1   practices or finances of entities directly or indirectly under the control of
2   Defendants; and
2
3
3          B.    Creating, operating, or exercising any control over any business
4
5
4   entity, whether newly formed or previously inactive, including any partnership,
6   limited partnership, joint venture, sole proprietorship, or corporation, without first
5
7
6   providing Plaintiff with a written statement disclosing: (1) the name of the
8
9
7   business entity; (2) the address and telephone number of the business entity; (3)
10
8 the names of the business entity’s officers, directors, principals, managers, and
11
9 employees; and (4) a detailed description of the business entity’s intended
12
10 activities.
13
14
11 XII.    PROHIBITION ON RELEASE OF CUSTOMER INFORMATION
15         OR CUSTOMER LISTS
12
16      IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating
17
13 Defendants’ officers, agents, employees, and attorneys, and all other persons in
18
14 active concert or participation with any of them, who receive actual notice of this
19
15
20 Order, whether acting directly or indirectly, are hereby preliminarily restrained
21
16 and enjoined from:
22
17       A.     selling, renting, leasing, transferring, or otherwise disclosing the
23
18
24 name, address, telephone number, credit card number, bank account number, e-
25
19 mail address, or other identifying information of any person who paid money to
26
20
27


    (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                              Page | 22
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 23 of 42 Page ID #:2373




1   the Defendants for products or services, or who were contacted or are on a list to
2   be contacted by the Defendants; and
2
3
3          B.    Benefitting from or using the name, address, birth date, telephone
4
5
4   number, email address, Social Security numbers, credit card number, bank
6   account number, or other financial or identifying personal information of any
5
7
6   person from whom or about whom any Defendant obtained such information in
8
9
7   connection with the activities alleged in the Complaint.
10
8        Provided however that the Stipulating Defendants may disclose such
11
9 identifying information to a law enforcement agency or as required by any law,
12
10 regulation, or court order.
13
14
11 XIII.    APPOINTMENT OF PERMANENT RECEIVER
15
12       IT IS FURTHER ORDERED that Charlene Koonce is appointed as
16
17
13 Permanent Receiver for the Receivership Defendants, with the full power of an
18
14 equity receiver. The Permanent Receiver shall be the agent of this Court when
19
15 serving as Permanent Receiver, and shall comply with the Federal Rules of Civil
20
21
16 Procedure and the Local Rules of this Court.
22
17 XIV.     PERMANENT RECEIVER’S DUTIES
23
18
24       IT IS FURTHER ORDERED that the Permanent Receiver is authorized

25
19 and directed to accomplish the following:
26
20       A.     Assume full control of the Receivership Defendants by removing, as
27


    (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                          Page | 23
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 24 of 42 Page ID #:2374




1   the Permanent Receiver deems necessary or advisable, any director, officer,
2   independent contractor, employee, or agent of any of the Receivership
2
3
3   Defendants, including any Defendant, from control of, management of, or
4
5
4   participation in, the affairs of the Receivership Defendants;
6          B.    Continue and conduct the business of the Receivership Defendants in
5
7
6   such manner, to such extent, and for such duration as the Permanent Receiver may
8
9
7   in good faith deem to be necessary or appropriate to operate the business
10
8 profitably and lawfully, if at all; provided, however, that the continuation and
11
9 conduct of the business shall be conditioned upon the Permanent Receiver’s good
12
10 faith determination that the business can be lawfully operated at a profit using the
13
14
11 assets of the receivership estate;
15
12        C.     Take exclusive custody, control, and possession of all assets and
16
17
13 documents of, or in the possession, custody, or control of, the Receivership
18
14 Defendants, wherever situated. The Permanent Receiver shall have full power to
19
15 divert mail and to sue for, collect, receive, take in possession, hold, and manage
20
21
16 all assets and documents of the Receivership Defendants and other persons whose
22
17 interests are now under the direction, possession, custody, or control of, the
23
24 Receivership Defendants. The Permanent Receiver shall assume control over the
18
25
19 income and profits and all sums of money now or hereafter due or owing to the
26
20 Receivership Defendants. Provided, however, that the Permanent Receiver shall
27


    (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                          Page | 24
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 25 of 42 Page ID #:2375




1    not attempt to collect any amount from a consumer if the Permanent Receiver
2    believes the consumer was a victim of the unfair or deceptive acts or practices or
2
3
3    other violations of law alleged in the Complaint;
4
5
4          D.     Take all steps necessary to secure the business premises of the
6    Receivership Defendants. Such steps may include, but are not limited to, any of
5
7
6    the following, as the Permanent Receiver deems necessary or advisable:
8
9
7                 1.    serving this Order;
10
8                 2.    completing a written inventory of all Receivership assets;
11
9                 3.    obtaining pertinent information from all employees and other
12
13
10         agents of the Receivership Defendants, including the name, home address,
14
11         Social Security number, job description, user names or passwords needed to
15
12         access Receivership Defendants’ documents, methods of compensation, and
16
17
13         all accrued and unpaid commissions and compensation of each such
18
14         employee or agent;
19
15                4.    photographing and videotaping any or all portions of the
20
21
16         location;
22
17                5.    securing the location by changing the locks and disconnecting
23
18
24         any computer modems or other means of access to the computer or other

25
19         records maintained at that location;
26
20
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                             Page | 25
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 26 of 42 Page ID #:2376




1                6.     opening and inventorying any safe deposit box, commercial
2          mail box, or storage facility in the name of any Receivership Defendant,
2
3
3          either individually or jointly, or subject to access by any Receivership
4
5
4          Defendant; and
6                7.     requiring any persons present on the premises at the time this
5
7
6          Order is served to leave the premises, to provide the Permanent Receiver
8
9
7          with proof of identification, or to demonstrate to the satisfaction of the
10
8          Permanent Receiver that such persons are not removing from the premises
11
9          assets or documents of the Receivership Defendants. Law enforcement
12
13
10         personnel, including police or sheriffs, may assist the Permanent Receiver
14
11         in implementing these provisions in order to keep the peace and maintain
15
12         security. If requested by the Permanent Receiver, the United States Marshal
16
17
13         will provide appropriate and necessary assistance to the Permanent
18
14         Receiver to implement this Order;
19
15         E.    Conserve, hold, and manage all assets of the Receivership
20
21
16 Defendants, and perform all acts necessary or advisable to preserve the value of
22
17 those assets in order to prevent any irreparable loss, damage, or injury to
23
24 consumers or creditors of the Receivership Defendants, including obtaining an
18
25
19 accounting of the assets and preventing the unauthorized transfer, withdrawal, or
26
20 misapplication of assets;
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                            Page | 26
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 27 of 42 Page ID #:2377




1          F.    Enter into and cancel contracts, and purchase insurance as the
2    Permanent Receiver deems advisable or necessary;
2
3
3          G.    Prevent the inequitable distribution of assets and determine, adjust,
4
5
4    and protect the interests of consumers and creditors who have transacted business
6    with the Receivership Defendants;
5
7
6          H.    Manage and administer the business of the Receivership Defendants
8
9
7    by performing all incidental acts that the Permanent Receiver deems to be
10
8 advisable or necessary, which includes retaining, hiring, or dismissing any
11
9 employees, independent contractors, or agents;
12
13
10         I.    Authorize the release of any copy or image of any website used or
14
11 controlled by the Receivership Defendants to the FTC;
15
12       J.     Choose, engage, and employ attorneys, accountants, appraisers, and
16
17
13 other independent contractors and technical specialists, as the Permanent Receiver
18
14 deems advisable or necessary in the performance of duties and responsibilities
19
15 under the authority granted by this Order;
20
21
16       K.     Make payments and disbursements from the receivership estate that
22
17 are necessary or advisable for carrying out the directions of, or exercising the
23
24 authority granted by, this Order. The Permanent Receiver shall apply to the Court
18
25
19 for prior approval of any payment of any debt or obligation incurred by the
26
20 Receivership Defendants prior to the date of entry of this Order, except payments
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                           Page | 27
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 28 of 42 Page ID #:2378




1    that the Permanent Receiver deems necessary or advisable to secure assets of the
2    Receivership Defendants, such as rental payments;
2
3
3          L.     Institute, compromise, adjust, appear in, intervene in, or become
4
5
4    party to such actions or proceedings in state, federal or foreign courts or
6    arbitration proceedings as the Permanent Receiver deems necessary and advisable
5
7
6    to preserve or recover the assets of the Receivership Defendants, or that the
8
9
7    Permanent Receiver deems necessary and advisable to carry out the Permanent
10
8 Receiver’s mandate under this Order, including actions challenging fraudulent or
11
9 voidable transfers;
12
13
10         M.     Defend, compromise, adjust, or otherwise dispose of any or all
14
11 actions or proceedings instituted in the past or in the future against the Permanent
15
12 Receiver in the role of Permanent Receiver, or against the Receivership
16
17
13 Defendants, as the Permanent Receiver deems necessary and advisable to preserve
18
14 the assets of the Receivership Defendants, or as the Permanent Receiver deems
19
15 necessary and advisable to carry out the Permanent Receiver’s mandate under this
20
21
16 Order;
22
17       N.     Take depositions and issue subpoenas to obtain documents and
23
24 records pertaining to the receivership estate and compliance with this Order.
18
25
19 Subpoenas may be served by agents or attorneys of the Permanent Receiver and
26
20 by agents of any process server retained by the Permanent Receiver;
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                              Page | 28
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 29 of 42 Page ID #:2379




1          O.     Maintain accurate records of all receipts and expenditures incurred as
2    Permanent Receiver;
2
3
3          P.     Open one or more bank accounts as designated depositories for funds
4
5
4    of the Receivership Defendants. The Permanent Receiver shall deposit all funds of
6    the Receivership Defendants in such a designated account and shall make all
5
7
6    payments and disbursements from the receivership estate from such account. The
8
9
7    Permanent Receiver shall serve copies of monthly account statements on all
10
8 parties; and
11
9        Q.    Cooperate with reasonable requests for information or assistance
12
10 from any state or federal law enforcement agency.
13
14
11 XV. ACCESS TO BUSINESS OFFICES AND DOCUMENTS
15
12     IT IS FURTHER ORDERED that:
16
17
13       A.     Stipulating Defendants and their officers, agents, servants,
18
14 employees, and attorneys, and all other persons in active concert or participation
19
15 with any of them, who receive actual notice of this Order, whether acting directly
20
21
16 or indirectly shall allow the Permanent Receiver, and their respective
22
17 representatives, agents, attorneys, investigators, paralegals, contractors, or
23
24 assistants access to:
18
25
19                1.    the business premises and storage facilities owned, controlled,
26
20         or used by any Receivership Defendant, including, but not limited, to the
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                             Page | 29
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 30 of 42 Page ID #:2380




1          offices and facilities at or in the vicinity of: (a) 6914 Canby Avenue, Suite
2          107, Reseda, California 91335; (b) 6925 Canby Avenue, Suite 105, Reseda,
2
3
3          California 91335; and (c) 6950 Canby Avenue, Suite 103, Reseda,
4
5
4          California 91335, and any offsite commercial mail boxes used by any
6          Receivership Defendant;
5
7
6                2.     any premises where the Receivership Defendants conduct
8
9
7          business, sales operations or customer service operations; and
10
8                3.     any premises where assets or documents related to the
11
9          Receivership Defendants’ businesses are stored or maintained;
12
13
10         B.    The Permanent Receiver, and their representatives, agents, and
14
11 assistants, are authorized to employ the assistance of law enforcement as they
15
12 deem necessary to effect service and to implement peacefully this Order. The
16
17
13 Temporary Receiver may exclude Receivership Defendants and their employees
18
14 from the business premises during the immediate access;
19
15       C.    The purpose of the immediate access shall be to inspect and copy the
20
21
16 business and financial documents of the Receivership Defendants, including
22
17 forensic imaging of electronically stored information. Such business documents
23
24 include, but are not limited to, correspondence, contracts, sales records, and
18
25
19 financial data;
26
20
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                           Page | 30
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 31 of 42 Page ID #:2381




1         D.     The Permanent Receiver shall have the right to remove any
2   documents related to Defendants’ business practices from the premises in order
2
3
3   that they may be inspected, inventoried, and copied. The materials so removed
4
5
4   shall be returned within five (5) business days of completing said inventory and
6   copying;
5
7
6         E.     If any assets or documents relating to the Receivership Defendants’
8
9
7   finances or business practices are located in the residence of any Defendant or are
10
8 otherwise in the custody or control of any Defendant, then such Defendant shall
11
9 produce them to the Permanent Receiver within forty-eight (48) hours of service
12
10 of this Order;
13
14
11       F.     In order to prevent the destruction of electronically stored
15
12 information, upon service of this Order upon Defendants, any computers used in
16
17
13 Receivership Defendants’ business shall be powered down (turned off) in the
18
14 normal course for the operating systems used on such computers and shall not be
19
15 powered up or used again until produced for copying and inspection, along with
20
21
16 any codes needed for access; and
22
17        G.   The Permanent Receiver shall have the discretion to determine
23
24 the time, manner, and reasonable conditions of access to the Receivership
18
25
19 Defendants’ premises.
26
20
27


    (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                          Page | 31
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 32 of 42 Page ID #:2382




1   XVI.      PERMANENT RECEIVER’S BOND
2           IT IS FURTHER ORDERED that the Permanent Receiver has filed with
2
3
3   the Clerk of this Court a bond in the sum of $20,000, with sureties approved by
4
5
4   this Court, and shall well and truly perform the duties of the office and abide by
6   and perform all acts the Court directs.
5
7
6   XVII.     DELIVERY OF RECEIVERSHIP PROPERTY
8
9
7           IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating
10
8 Defendants’ officers, agents, employees, and attorneys, and all other persons in
11
9 active concert or participation with any of them, who receive actual notice of this
12
10 Order, and any other person with possession, custody or control of assets or
13
14
11 documents relating to the Receivership Defendants shall upon notice of this Order,
15
12 by personal service or otherwise, immediately notify the Permanent Receiver of,
16
17
13 and, upon receiving a request from the Permanent Receiver, immediately transfer
18
14 or deliver to the Permanent Receiver possession, custody, and control of, the
19
15 following:
20
21
16       A.     All assets of the Receivership Defendants;
22
17       B.     All documents of the Receivership Defendants, including books and
23
24 records of accounts, all financial and accounting records, balance sheets, income
18
25
19 statements, bank records (including monthly statements, canceled checks, records
26
20 of wire transfers, and check registers), client lists, title documents and other
27


    (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                           Page | 32
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 33 of 42 Page ID #:2383




1    papers;
2          C.     All computers and data in whatever form used to conduct the
2
3
3    business of the Receivership Defendants; and
4
5
4          D.     All usernames, keys, codes, and passwords necessary to gain or to
6    secure access to any assets or documents of the Receivership Defendants,
5
7
6    including access to their business premises, means of communication, accounts,
8
9
7    computer systems, or other property.
10
8      In the event that any person or entity fails to deliver or transfer any asset or
11
9 document or otherwise fails to comply with any provision of this Section, the
12
10 Permanent Receiver may file ex parte an Affidavit of Non-Compliance regarding
13
14
11 the failure. Upon filing of the affidavit, the Court may authorize, without
15
12 additional process or demand, Writs of Possession or Sequestration or other
16
17
13 equitable writs requested by the Permanent Receiver. The writs shall authorize
18
14 and direct the United States Marshal or any sheriff or deputy sheriff of any
19
15 county, or any other federal or state law enforcement officer, to seize the asset,
20
21
16 document, or other item covered by this Section and to deliver it to the Permanent
22
17 Receiver.
23
24 XVIII. PROVISION OF INFORMATION TO PERMANENT RECEIVER
18
25
19       IT IS FURTHER ORDERED that Stipulating Defendants shall provide to
26
20 the Permanent Receiver, immediately upon request, without need of any subpoena
27


     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                          Page | 33
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 34 of 42 Page ID #:2384




1   or further order, the following:
2          A.    A list of all locations where documents of the Receivership
2
3
3   Defendants are located, and the means to access such documents within five hours
4
5
4   of the Permanent Receiver’s request; and
6
5
7
6          B.    Within forty-eight (48) hours of service of this Order, the
8
9
7   Stipulating Defendants shall produce to the Permanent Receiver a list of all
10
8 agents, employees, officers, and those persons in active concert and participation
11
9 with them, who have been associated or done business with the Receivership
12
10 Defendant(s).
13
14
11 XIX.    COOPERATION WITH THE PERMANENT RECEIVER
15
12      IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating
16
17
13 Defendants’ officers, agents, employees, and attorneys, and all other persons in
18
14 active concert or participation with any of them, who receive actual notice of this
19
15 Order, and any other person served with a copy of this Order shall fully cooperate
20
21
16 with and assist the Permanent Receiver in taking and maintaining possession,
22
17 custody, or control of the assets and documents of the Receivership Defendants.
23
24 This cooperation and assistance shall include:
18
25
19       A.    Providing information to the Permanent Receiver that the Permanent
26
20 Receiver deems necessary in order to exercise the authority and discharge the
27


    (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                             Page | 34
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 35 of 42 Page ID #:2385




1    responsibilities of the Permanent Receiver under this Order;
2          B.     Advising all persons who owe money to the Receivership Defendants
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3
3    that all debts should be paid directly to the Permanent Receiver; and
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5
4          C.     Transferring funds at the Permanent Receiver’s direction and
6    producing documents related to the assets and sales of the Receivership
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7
6    Defendants. The entities obligated to cooperate with the Permanent Receiver
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9
7    under this provision include financial institutions and persons that have transacted
10
8 business with the Receivership Defendants.
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9 XX.
12
           NONINTERFERENCE WITH THE PERMANENT RECEIVER

13
10         IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating
14
11 Defendants’ officers, agents, employees, attorneys, and all other persons in active
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12 concert or participation with any of them, who receive actual notice of this Order,
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17
13 and their corporations, subsidiaries, divisions, or affiliates, are hereby restrained
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14 and enjoined from directly or indirectly:
19
15       A.     Interfering with the Permanent Receiver managing, or taking
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21
16 custody, control, or possession of, the assets or documents subject to this
22
17 Receivership;
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18
24       B.    Transacting any of the business of the Receivership Defendants;

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19       C.      Transferring, receiving, altering, selling, encumbering, pledging,
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20 assigning, liquidating, or otherwise disposing of any assets owned, controlled, or
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     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                            Page | 35
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 36 of 42 Page ID #:2386




1    in the possession or custody of, or in which an interest is held or claimed by, the
2    Receivership Defendants, or the Permanent Receiver; and
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3          D.     Refusing to cooperate with the Permanent Receiver or the Permanent
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4    Receiver’s duly authorized agents in the exercise of their duties or authority under
6    any order of this Court.
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     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                            Page | 36
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 37 of 42 Page ID #:2387




1    XXI.      PERMANENT RECEIVER’S REPORT
2           IT IS FURTHER ORDERED that the Permanent Receiver shall report to
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3
3    this Court: (1) the steps taken by the Permanent Receiver to implement the terms
4
5
4    of this Order; (2) the value of all liquidated and unliquidated assets of
6    Receivership Defendants; (3) the sum of all liabilities of Receivership Defendants;
5
7
6    (4) the steps the Permanent Receiver intends to take in the future to: (a) prevent
8
9
7    any diminution in the value of assets of Receivership Defendants; (b) pursue
10
8 receivership assets from third parties; and (c) adjust the liabilities of Receivership
11
9 Defendants, if appropriate; (5) the Permanent Receiver’s finding regarding the
12
10 ability of the Receivership Defendants to operate legally and profitably; and (6)
13
14
11 any other matters that the Permanent Receiver believes should be brought to the
15
12 Court’s attention. Provided, however, if any of the required information would
16
17
13 hinder the Permanent Receiver’s ability to pursue receivership assets, the portions
18
14 of the Permanent Receiver’s report containing the information may be filed under
19
15 seal and not served on the parties.
20
21
16 XXII. STAY OF ACTIONS AGAINST DEFENDANTS
22
17       IT IS FURTHER ORDERED that, except by leave of this Court, during
23
24 the pendency of the Receivership ordered herein, Stipulating Defendants and
18
25
19 Stipulating Defendants’ officers, agents, employees, attorneys, and all other
26
20 persons in active concert or participation with any of them, who receive actual
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     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                           Page | 37
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 38 of 42 Page ID #:2388




1    notice of this Order, and any person seeking to establish or enforce any right, title,
2    interest, or claim against or on behalf of any Defendant, and all others acting for
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3
3    or on behalf of such persons, are hereby enjoined from taking action that would
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5
4    interfere with the exclusive jurisdiction of this Court over the assets or documents
6    of the Defendants, including:
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6          A.     Filing or assisting in the filing of a petition for relief under the
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7    Bankruptcy Code, 11 U.S.C. § 101 et seq., or of any similar insolvency
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8 proceeding;
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9       B.    Commencing, prosecuting, continuing, entering, or enforcing any suit
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10 or proceeding against the Defendants, except that such actions may be
13
14
11 commenced if necessary to toll any applicable statute of limitations;
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12     C.     Accelerating the due date of any obligation or claimed obligation;
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13 filing or enforcing any lien; taking or attempting to take possession, custody, or
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14 control of any asset; attempting to foreclose, forfeit, alter, or terminate any interest
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15 in any asset, whether such acts are part of a judicial proceeding, are acts of self-
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21
16 help, or otherwise;
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17        D.    Filing or enforcing any lien on any asset of the Defendants, taking or
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24 attempting to take possession, custody, or control of any asset of the Defendants;
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19 or attempting to foreclose, forfeit, alter, or terminate any interest in any asset of
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20 the Defendants, whether such acts are part of a judicial proceeding, are acts of
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     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                                  Page | 38
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 39 of 42 Page ID #:2389




1    self-help, or otherwise; or
2          E.     Initiating any other process or proceeding that would interfere with
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3    the Permanent Receiver managing or taking custody, control, or possession of, the
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4    assets or documents subject to this receivership.
6          Provided that, this Order does not stay: (1) the commencement or
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6    continuation of a criminal action or proceeding; (2) the commencement or
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7    continuation of an action or proceeding by a governmental unit to enforce such
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8 governmental unit’s police or regulatory power; or (3) the enforcement of a
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9 judgment, other than a money judgment, obtained in an action or proceeding by a
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10 governmental unit to enforce such governmental unit’s police or regulatory power.
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11 XXIII. COMPENSATION OF PERMANENT RECEIVER
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12      IT IS FURTHER ORDERED that the Permanent Receiver and all
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13 personnel hired by the Permanent Receiver, including counsel to the Permanent
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14 Receiver and accountants, are entitled to reasonable compensation for the
19
15 performance of duties pursuant to this Order and for the cost of actual out-of-
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16 pocket expenses incurred by them solely, from the assets now held by, in the
22
17 possession or control of, or which may be received by, the Receivership
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24 Defendants. The Permanent Receiver shall file with the Court and serve on the
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19 parties periodic requests for the payment of such reasonable compensation, with
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20 the first such request filed no more than sixty (60) days after the date of entry of
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     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                           Page | 39
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 40 of 42 Page ID #:2390




1    this Order. The Permanent Receiver shall not increase the hourly rates used as the
2    bases for such fee applications without prior approval of the Court.
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3    XXIV.    EXPEDITED DISCOVERY
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4          IT IS FURTHER ORDERED that, the Permanent Receiver is authorized
6    to conduct expedited discovery concerning Receivership Defendants’ assets, the
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6    products and services offered by Receivership Defendants, and the nature and
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9
7    location of the Receivership Defendants’ documents and business records in
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8 accordance with the following provisions:
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9       A.    The Permanent Receiver may take the depositions of parties and non-
12
10 parties. Forty-eight (48) hours’ notice shall be sufficient notice for such
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11 depositions;
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12       B.     The Permanent Receiver may serve upon parties requests for
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13 production of documents or inspection that require production or inspection within
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14 five (5) calendar days of service, and may serve subpoenas upon non-parties that
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15 direct production or inspection within five (5) calendar days of service;
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16       C.     The Permanent Receiver may serve deposition notices and other
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17 discovery requests upon the parties to this action by facsimile or overnight
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24 courier; and
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     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                          Page | 40
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 41 of 42 Page ID #:2391




1           D.     Any discovery taken pursuant to this Order is in addition to, and is
2    not subject to, the presumptive limits on discovery set forth in the Federal Rules
2
3
3    of Civil Procedure and Local Rules of this Court.
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4    XXV.        DISTRIBUTION OF ORDER BY DEFENDANTS
6           IT IS FURTHER ORDERED that Stipulating Defendants shall
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7
6    immediately provide a copy of this Order to each affiliate, sales entity, successor,
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9
7    assign, member, officer, director, employee, agent, independent contractor, client,
10
8 servant, attorney, spouse, subsidiary, division, and representative of any
11
9 Defendant, and shall, within ten (10) days from the date of entry of this Order,
12
10 individually provide the FTC with a sworn statement that each Defendant has
13
14
11 complied with this provision of the Order, which statement shall include the
15
12 names and addresses of each such person or entity who received a copy of this
16
17
13 Order.
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14 XXVI. RETENTION OF JURISDICTION
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15   IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this
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16 matter for all purposes.
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     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                            Page | 41
Case 2:15-cv-04527-GW-PLA Document 108 Filed 07/24/15 Page 42 of 42 Page ID #:2392




1          SO ORDERED,
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4    Dated: July 24, 2015             ___________________________________
                                      The Honorable George H. Wu
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5                                     United States District Judge
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     (PROPOSED) STIPULATED PRELIMINARY INJUNCTION ORDER                 Page | 42
